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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                                                                                          December 02, 2021
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk

                             CORPUS CHRISTI DIVISION

WILLIAM ROGERS, et al,                              §
                                                    §
            Plaintiffs,                             §
VS.                                                 §    CIVIL NO. 2:18-CV-421
                                                    §
ISAAC KWARTENG, et al,                              §
                                                    §
            Defendants.                             §


                                               ORDER

          The Court is in receipt of Defendants Isaac Kwarteng and Brian O’Donnell’s
(“Defendants”) Motion for Summary Judgment, Dkt. No. 97; Plaintiff’s Response,
Dkt. No. 115; and the Magistrate Judge’s Memorandum and Recommendation
(“M&R”), Dkt. No. 117. The deadline to object to the M&R has passed, and no
objections have been filed.
          After independently reviewing the record and the applicable law, the Court
ADOPTS the M&R, Dkt. No. 117, in substance.1 The Court DENIES Defendants’



1   The Court alters and adopts the following statement (with the correction in bold type):
          ●       “Based on the parties’ statements provided at the telephone conference, the
                  undersigned stayed the case to allow the parties to address the remaining treatment
                  issues identified by Plaintiff at the telephone conference and possibly settle this
                  case.” Dkt. No. 117 at 4.
          ●       “Plaintiff stated that his broken blood vessels resulted from uncontrolled blood sugar
                  levels with NPH insulin was not addressing.” Id. at 10.
          ●       “Dr. Haridas, therefore, recommended that Plaintiff’s medication of Glipizide be
                  discontinued in the evening and that his NPH insulin be stopped.” Id. at 11.
          ●       “Specifically, Dr. Kwarteng prescribed Plaintiff with 30 units of Levemir every
                  evening as well as 1 unit of the fact-acting insulin NPH insulin every evening.” Id.
                  at 12.
          ●       “Adjustments have been made to his Levemir, NPH insulin, sliding scale NPH
                  insulin and Metformin prescriptions to improve Plaintiff’s insulin and diabetic
                  control.” Id.
          ●       “A Pharmacotherapy Clinic note, dated October 28, 2020, reflects that Dr. Nguyen
                  reduced Plaintiff’s regular NPH insulin to five units in the morning.” Id. at 13.
          ●       “However, Dr. Kwarteng prescribed Plaintiff with seven units of regular NPH
                  insulin.” Id.


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motion for summary judgment, Dkt. No. 97, on the issues of exhaustion and
mootness. The Court GRANTS Defendants’ Motion for Summary Judgment, Dkt.
No. 97, on the issues of deliberate indifference, qualified immunity and Eleventh
Amendment immunity and DISMISSES WITH PREJUDICE Plaintiff’s deliberate
indifference claims against Defendants.
       SIGNED this 2nd day of December 2021.


                                                ___________________________________
                                                Hilda Tagle
                                                Senior United States District Judge

       ●     “On December 2, 2020, . . . as well as adjusting his regular NPH insulin to two units
             in the morning and eight units in the evening.” Id.
       ●     “Dr. Kwarteng prescribed Plaintiff these recommended amounts of Levemir and
             regular NPH insulin.” Id.
       ●     “Defendants contend that Plaintiff failed to exhaust his claims against with respect
             to his medical care for his T2DM through both administrative grievance steps.” Id. at
             18.
       ●     “Even though Plaintiff filed his original complaint a days before receiving the
             response to the Step 1 grievance, Lawson’s response lends credence to the idea that
             resolution through both steps of the grievance process was never available to
             Plaintiff.” Id. at 19.
       ●     “Plaintiff seeks relief in this lawsuit in the form of . . . NPH insulin to control his
             diabetes and help his related vision issues.” Id. at 20
       ●     “Plaintiff responds that that factual disputes exist to preclude summary judgment in
             Defendants’ favor.” Id. at 23.
       ●     “In initially recommending that the Court deny Defendants’ first summary judgment
             motion be denied, the undersigned . . . such as Lantus instead of NPH insulin” Id.
             at 24.
       ●     “Since Plaintiff arrived at the McConnell Unit, he has been on an intensive insulin
             regiment which consisted for the first few years of NPH and regular sliding scale
             insulin.” Id. at 25.
       ●     “Plaintiff complains that Dr. Kwarteng often contradicted the orders of the diabetic
             experts, such as Dr. McKinney and Dr. Wendy Nguyen, by maintaining Plaintiff on
             NPH insulin and improperly adjusting his insulin treatment.” Id. at 26.
       ●     “While Dr. Kwarteng initially resisted ordering Levemir . . . as well as 1 unit of the
             fast-acting insulin NPH insulin every evening.” Id. at 27.
       ●     “Even after noting Plaintiff’s documented struggles . . . that this defendant’s actions
             may have amounted to either negligence or medical malpractice and not deliberate
             indifference.” Id. at 30-31.
       ●     “Second, he must claim that the defendant’s action was objectively unreasonable in
             light of the law that was clearly established at the time of the complained-of actions.”
             Id. at 32.
       ●     “In this case, because Plaintiff has failed to state cognizable constitutional claims
             against Defendants, it is not necessary to examine whether Defendants’ actions were
             objectively unreasonable.” Id.



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